898 F.2d 146Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Norman Keith PETTIT, Plaintiff-Appellant,v.Toni V. BAIR, Administrator;  M.A. Davis, RegionalOmbudsman;  Raymond M. Muncy, Warden;  Gail Kafka,Grievance Clerk;  Glenda Adams, MailroomSupervisor, Defendants-Appellees.
    No. 89-6657.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 18, 1989.Decided:  Feb. 23, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (C/A No. 88-808-N)
      Norman Keith Pettit, appellant pro se.
      E.D.Va.
      DISMISSED.
      Before WIDENER, PHILLIPS and MURNAGHAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Norman Keith Pettit appeals the district court's order refusing to reduce the partial filing fee.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we deny leave to proceed in forma pauperis and dismiss the appeal as interlocutory.  We dispense with oral argument because the dispositive issue has been decided authoritatively.
    
    
      5
      DISMISSED.
    
    